  Case 14-19488-elf       Doc 108     Filed 03/17/20 Entered 03/17/20 17:35:53            Desc
                                          Page 1 of 5




                         UNITED STATES BANKRUPTCY COURT
                         EASTERN DISTRICT OF PENNSYLVANIA


In re: MARC GROSSMAN                         §       Case No. 14-bk-19488
                                             §
                                             §
             Debtor(s)                       §
        CHAPTER 13 STANDING TRUSTEE'S FINAL REPORT AND ACCOUNT


William C Miller, Chapter 13 Trustee, submits the following Final Report and Account of the
administration of the estate pursuant to 11 U.S.C § 1302(b)(1). The Trustee declares as follows:

       1) The case was filed on 12/01/2014.

       2) The plan was confirmed on 10/01/2015.

       3) The plan was modified by order after confirmation pursuant to 11 U.S.C § 1329 on
          NA.

       4) The Trustee filed action to remedy default by the debtor(s) in performance under the
          plan on NA.

       5) The case was completed on 12/31/2019.

       6) Number of months from filing or conversion to last payment: 60.

       7) Number of months case was pending: 63.

       8) Total value of assets abandoned by court order: NA.

       9) Total value of assets exempted: $48,525.00.

       10) Amount of unsecured claims discharged without full payment: $587,306.92.

       11) All checks distributed by the Trustee relating to this case have cleared the bank.




UST Form 101-13-FR-S (9/1/2009)
  Case 14-19488-elf      Doc 108      Filed 03/17/20 Entered 03/17/20 17:35:53            Desc
                                          Page 2 of 5




Receipts:
      Total paid by or on behalf of the debtor(s)          $ 107,815.90
      Less amount refunded to debtor(s)                           $ 0.00
NET RECEIPTS                                                                     $ 107,815.90



Expenses of Administration:

       Attorney's Fees Paid Through the Plan                  $ 1,500.00
       Court Costs                                                 $ 0.00
       Trustee Expenses & Compensation                        $ 7,669.23
       Other                                                       $ 0.00

TOTAL EXPENSES OF ADMINISTRATION                                                   $ 9,169.23

Attorney fees paid and disclosed by debtor(s):                  $ 310.00



Scheduled Creditors:
Creditor                                        Claim        Claim       Claim     Principal     Interest
Name                          Class         Scheduled     Asserted    Allowed          Paid         Paid
CAROL B MCCULLOUGH            Lgl                0.00          NA          NA      1,500.00         0.00
PENNSYLVANIA DEPT. OF REVENUE Pri                0.00     5,984.81    5,984.81     5,984.81         0.00
PENNSYLVANIA DEPT. OF REVENUE Uns                0.00     7,887.29    7,887.29       213.42         0.00
REAL TIME RESOLUTIONS         Sec                0.00   122,375.44        0.00         0.00         0.00
PORTFOLIO RECOVERY ASSO       Uns                0.00     9,528.49    9,528.49       257.83         0.00
DISCOVER FINANCIAL SVCS       Uns           10,794.45    11,091.29   11,091.29       300.12         0.00
PORTFOLIO RECOVERY ASSO       Uns            9,431.12     9,431.12    9,431.12       255.20         0.00
CAPITAL ONE BANK              Uns                0.00    19,637.52   19,637.52       531.38         0.00
QUANTUM3 GROUP                Uns                0.00     2,437.43    2,437.43        65.95         0.00
ALTAIR OH XIII, LLC           Uns              289.75       363.59      363.59         9.84         0.00
ANTIO, LLC                    Uns                0.00    12,595.21   12,595.21       340.82         0.00
MIDLAND CREDIT MANAGEMENT Uns                9,090.48    10,468.58   10,468.58       283.28         0.00
INTERNAL REVENUE SERVICE      Pri           65,000.00    71,010.87   71,010.87    71,010.87         0.00
INTERNAL REVENUE SERVICE      Uns                0.00    18,080.40   18,080.40       489.24         0.00
Jefferson Associates          Uns                0.00       190.01      190.01         5.14         0.00
CITIZENS BANK                 Sec          150,000.00   157,280.11        0.00         0.00         0.00
CITIZENS BANK                 Sec          135,000.00   146,115.59        0.00         0.00         0.00
BANK OF AMERICA               Uns           20,454.76    14,709.12   14,709.12       398.01         0.00



UST Form 101-13-FR-S (9/1/2009)
  Case 14-19488-elf      Doc 108        Filed 03/17/20 Entered 03/17/20 17:35:53           Desc
                                            Page 3 of 5




Scheduled Creditors:
Creditor                                          Claim        Claim       Claim    Principal     Interest
Name                                 Class    Scheduled     Asserted    Allowed         Paid         Paid
TOWNSHIP OF ABINGTON                 Sec           0.00     2,069.58    2,069.58    2,069.58         0.00
CAROL B MCCULLOUGH                   Lgl           0.00         0.00        0.00        0.00         0.00
GREEN TREE                           Sec           0.00   287,282.54        0.00        0.00         0.00
PORTFOLIO RECOVERY ASSO              Uns       1,163.82     1,229.75    1,229.75       33.27         0.00
AMERICAN EXPRESS                     Uns       3,736.53     2,262.88    2,262.88       61.23         0.00
AMERICAN EXPRESS                     Uns      33,598.46     2,039.23    2,039.23       55.18         0.00
AMERICAN EXPRESS                     Uns         571.90       669.13      669.13       18.11         0.00
AMERICAN EXPRESS                     Uns      15,829.68    15,822.77   15,822.77      428.15         0.00
TOYOTA MOTOR CREDIT CORP             Uns       1,660.00     1,660.40    1,660.40       44.93         0.00
AMERICAN EXPRESS                     Uns       2,776.40     2,868.06    2,868.06       77.61         0.00
RESURGENT CAPITAL SERVICES           Uns      17,896.49    15,218.28   15,218.28      411.79         0.00
CITIZENS BANK                        Uns           0.00    11,781.26   11,781.26      318.79         0.00
Montgomery County Tax Claim Bureau   Sec           0.00    14,829.58   14,829.58   14,829.58         0.00
CITIZENS BANK                        Uns       5,519.07     5,637.53    5,637.53      152.54         0.00
BANK OF AMERICA                      Sec     100,000.00          NA          NA         0.00         0.00
EVERHOME MORTGAGE                    Uns     249,000.00          NA          NA         0.00         0.00
ABINGTON TOWNSHIP                    Pri       7,808.00          NA          NA         0.00         0.00
PENN DEPT OF REV                     Pri      11,100.00          NA          NA         0.00         0.00
AMERICAN EXPRESS                     Uns         571.90          NA          NA         0.00         0.00
AT & T UNIVERSAL CARD                Uns       9,459.45          NA          NA         0.00         0.00
BMW CARD SERVICES                    Uns      12,153.40          NA          NA         0.00         0.00
CAPITAL ONE BANK                     Uns      12,153.40          NA          NA         0.00         0.00
CARD MEMBER SERV.                    Uns      19,353.41          NA          NA         0.00         0.00
CITICARDS                            Uns      18,398.81          NA          NA         0.00         0.00
HOME DEPOT CREDIT SERV.              Uns         289.75          NA          NA         0.00         0.00
JEFF. ASSOC DIV OF PALMAR            Uns         190.01          NA          NA         0.00         0.00
NORTHLAND GROUP INC                  Uns      23,621.63          NA          NA         0.00         0.00
RBS CITIZENS BANK                    Uns      19,062.52          NA          NA         0.00         0.00
SEARS CREDIT CARDS                   Uns       9,090.48          NA          NA         0.00         0.00
SST CARD SERV.                       Uns      17,318.83          NA          NA         0.00         0.00
SUSSEX COUNTY UTILITY BILLING        Uns         755.00          NA          NA         0.00         0.00
TARGET CARD SERV.                    Uns       2,217.58          NA          NA         0.00         0.00
THE VILLIAGE AT BEAR TRAP            Uns      22,813.24          NA          NA         0.00         0.00




UST Form 101-13-FR-S (9/1/2009)
  Case 14-19488-elf      Doc 108     Filed 03/17/20 Entered 03/17/20 17:35:53   Desc
                                         Page 4 of 5




Summary of Disbursements to Creditors:

                                              Claim            Principal         Interest
                                              Allowed          Paid              Paid
Secured Payments:
      Mortgage Ongoing                             $ 0.00           $ 0.00             $ 0.00
      Mortgage Arrearage                           $ 0.00           $ 0.00             $ 0.00
      Debt Secured by Vehicle                      $ 0.00           $ 0.00             $ 0.00
      All Other Secured                      $ 16,899.16      $ 16,899.16              $ 0.00
TOTAL SECURED:                               $ 16,899.16      $ 16,899.16              $ 0.00

Priority Unsecured Payments:
        Domestic Support Arrearage                 $ 0.00           $ 0.00             $ 0.00
        Domestic Support Ongoing                   $ 0.00           $ 0.00             $ 0.00
        All Other Priority                   $ 76,995.68      $ 76,995.68              $ 0.00
TOTAL PRIORITY:                              $ 76,995.68      $ 76,995.68              $ 0.00

GENERAL UNSECURED PAYMENTS:                 $ 175,609.34       $ 4,751.83              $ 0.00



Disbursements:

       Expenses of Administration             $ 9,169.23
       Disbursements to Creditors            $ 98,646.67

TOTAL DISBURSEMENTS:                                         $ 107,815.90




UST Form 101-13-FR-S (9/1/2009)
  Case 14-19488-elf         Doc 108      Filed 03/17/20 Entered 03/17/20 17:35:53               Desc
                                             Page 5 of 5




        12) The Trustee certifies that, pursuant to Federal Rule of Bankruptcy Procedure 5009,
the estate has been fully administered, the foregoing summary is true and complete, and all
administrative matters for which the Trustee is responsible have been completed. The Trustee
requests a final decree be entered that discharges the Trustee and grants such other relief as may
be just and proper.




Date: 03/16/2020                        By: William C. Miller
                                             Chapter 13 Standing Trustee

STATEMENT: This Uniform Form is associated with an open bankruptcy case, therefore, Paperwork Reduction
Act exemption 5 C.F.R. § 1320.4(a)(2) applies.




UST Form 101-13-FR-S (9/1/2009)
